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WESTERN DIVISION
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JEROME MILLER, JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
FEDERAL EXPRESS CORPORATION, et al., CASE NO: 2:05-2487-B
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court, The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Oi` Dismissal
Without Prejudice entered on July 27, 2005, this cause is hereby dismissed without prejudice.

 

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@IEL BREEN \

UN ED STATES DIsTRrCT COURT THOMAS M. GO|I.D

Da e Clerk of Court

(By) Deputy Clgrk

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Jerome Miller
3071 DeWitt Cove
i\/lemphis7 TN 38118

Honorable J. Breen
US DISTRICT COURT

